

People v McNear (2022 NY Slip Op 06399)





People v Mcnear


2022 NY Slip Op 06399


Decided on November 10, 2022


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on November 10, 2022

PRESENT: WHALEN, P.J., LINDLEY, NEMOYER, CURRAN, AND WINSLOW, JJ. (Filed Nov. 10, 2022.) 


MOTION NO. (1116/99) KA 99-00063.

[*1]THE PEOPLE OF THE STATE OF NEW YORK, RESPONDENT, 
vSAMUEL MCNEAR, DEFENDANT-APPELLANT.



MEMORANDUM AND ORDER
Motion for writ of error coram nobis denied.








